Exhibit A




            Case 3:22-cv-00849 Document 1-1 Filed 10/17/22 Page 1 of 7 PageID #: 5
Case 3:22-cv-00849 Document 1-1 Filed 10/17/22 Page 2 of 7 PageID #: 6
Case 3:22-cv-00849 Document 1-1 Filed 10/17/22 Page 3 of 7 PageID #: 7
Case 3:22-cv-00849 Document 1-1 Filed 10/17/22 Page 4 of 7 PageID #: 8
Case 3:22-cv-00849 Document 1-1 Filed 10/17/22 Page 5 of 7 PageID #: 9
Case 3:22-cv-00849 Document 1-1 Filed 10/17/22 Page 6 of 7 PageID #: 10
Case 3:22-cv-00849 Document 1-1 Filed 10/17/22 Page 7 of 7 PageID #: 11
